Case 1:16-cv-00661-JJM-LDA Document 16 Filed 06/14/17 Page 1 of 2 PageID #: 64


                              UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF RHODE ISLAND


 ONELIO NICOLAS LÓPEZ                              )
           Plaintiff,                              )
                                                   )
 v.                                                )       Civil Action No. 1:16cv-00661
                                                   )
 KEN ROCHA COLLISION, LLC,                         )
 KENNETH ROCHA, alias                              )
           Defendants                              )


                        STIPULATION OF DISMISSAL WITH PREJUDICE

        In the above-entitled cause it is agreed that the following entry be made:

          Pursuant to Federal Rule of Civil Procedure 41, the undersigned parties hereby stipulate and agree
that all claims and counterclaims are dismissed with prejudice, without costs to any party, and with all
rights of appeal waived.


ONELIO NICOLAS LOPEZ                                              KEN ROCHA COLLISION, LLC
By his Attorneys,                                                 and KEN ROCHA,
                                                                  By their Attorney,

/s/ Kathleen Nee                                                      /s/ Bruce A. Leach
Kathleen Nee, Bar #9375                                            Bruce A. Leach, Esq. Bar #0281
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 June 14, 2017
Case 1:16-cv-00661-JJM-LDA Document 16 Filed 06/14/17 Page 2 of 2 PageID #: 65


                                      Certification of Service

       I hereby certify that on June 14, 2017, the within Stipulation has been filed electronically

through the court’s ECF system, that it is available for viewing and downloading from the ECF

system by plaintiff’s counsel as follows:

       Kathleen Nee, Esq.                                   Shannah Kurland, Esq.
       1 Turks Head Place Ste 1440                          149 Lenox Avenue
       Providence, RI 02903                                 Providence, RI 029097


                                                                 /s/ Bruce A. Leach




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